
Defendant appeals from a judgment of a city magistrate, holding a Court of Special Sessions of the City of New York, Borough of Richmond, convicting him of violating subdivision 5 of section 70 of the Vehicle and Traffic Law. Judgment reversed on the law, the information dismissed, and the fine remitted. The evidence adduced was not sufficient to warrant the finding of guilt beyond a reasonable doubt. (People v. Brewster, 252 App. Div. 877; People V. Weaver, 188 App. Div. 395; People [Mulrean] v. Fox, 256 App. Div. 578.) Hagarty, Acting P. J., Carswell, Johnston, Adel and Sneed, JJ., concur.
